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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


JOHN DEJUAN HATCHER,

                     Petitioner,

                                                          Case No. 05-CV-74194
vs.                                                       HON. GEORGE CARAM STEEH
                                                          Crim. No. 01-CR-80361

UNITED STATES OF AMERICA,

                     Respondent.

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                  ORDER DISMISSING § 2255 PETITION (#159), AND
                    DENYING CERTIFICATE OF APPEALABILITY

       Petitioner John DeJuan Hatcher filed a 28 U.S.C. § 2255 motion on November 2,

2005 seeking relief from his October 27, 2004 amended sentence of: two 60-month

concurrent terms on convictions of aiding and abetting bank robbery, 18 U.S.C. § 2113(a),

and felon in possession of a firearm, 18 U.S.C. § 922(g)(1); and a consecutive 30-year term

on two merged convictions of using, carrying, or brandishing a firearm during a crime of

violence, 18 U.S.C. § 924(c)(1)(A)(I-ii), and aiding and abetting the possession of a

destructive device during the commission of a crime of violence, 18 U.S.C. § 924(c)(1)(A)(I)

and 18 U.S.C. § 2. The facts and legal arguments presented in the parties' briefs are

sufficient to adjudicate the petition. Oral argument would not significantly aid the decisional

process. Pursuant to E.D. Mich. Local R. 7.1(e)(2), it is ORDERED that the petition be

resolved without oral argument.

                                       I. Background

       The underlying circumstances are set forth in United States v. McNeil, Nos. 02-

1096/1757 and 03-1109, 106 Fed.Appx. 294 (6th Cir. July 1, 2004) (unpublished) in which
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the Sixth Circuit affirmed the 2001 jury trial convictions of Hatcher and his accomplices

Daniel McNeil and Jarrett Henderson relative to an April 19, 2001 armed robbery of a First

Federal Bank branch in Sterling Heights, Michigan.         The matter was remanded for

resentencing, however, upon merging Hatcher's two § 924(c) convictions as related to the

same predicate bank robbery offense and sentencing Hatcher at the highest available

penalty under § 924(c) of 30 years. Id. at *305-*06 (citing United States v. Sims, 975 F.2d

1225, 1236 (1992)). In a separate matter, United States v. Hatcher, No. 02-CR-80188

(E.D. Mich. 2002)1, Hatcher entered a Rule 11 Plea Agreement before this court relative

to a September 27, 2000 armed robbery of a National City Bank branch in New Haven,

Michigan, pleading guilty to one count of aiding and abetting bank robbery, 18 U.S.C. §

2113(a) and 18 U.S.C. § 2, in exchange for the dismissal of one count of attempted car

jacking, 18 U.S.C. § 2119, one count of using a firearm during the commission of a bank

robbery, 18 U.S.C. § 924(c)(1)(A)(ii), and one count of using a firearm during the

commission of the attempted car jacking. Id. Hatcher's Rule 11 Plea Agreement in Case

No. 02-CR-80188 provides in part:

      5. Unconditional waiver of conditional waiver of appeal and post-conviction
      rights

      Defendant knows that he will be sentenced under the Federal Sentencing
      Guidelines and that: 1) the sentence has not yet been determined by the
      district judge; 2) any estimate of the likely sentence received from any source
      is a prediction and not a promise, and 3) the district judge has the final
      authority to decide what the sentence will be. Defendant has thoroughly
      reviewed this agreement with his lawyer and understands the agreement and
      its effect upon the potential sentence. Defendant is satisfied with his lawyer's
      advice and representation.

        Defendant is pleading guilty voluntarily and intends to give up (waive) all
      appeal and other post-conviction rights he may have regarding both his
      conviction and sentence in exchange for the other terms of this agreement.
      Therefore, Defendant promises not to appeal or otherwise contest his


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          Kevin Neal and Frederick McCloud were co-defendants.

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       conviction or sentence on any ground, including those contained in 18 U.S.C.
       §3742, or in any post-conviction proceeding, including any proceeding
       authorized by 28 U.S.C. § 2255.

          In addition, as part of this agreement, Defendant promises not to file any
       post-conviction petition, including but not limited to any proceeding
       authorized by 28 U.S.C. § 2255, on any ground whatsoever, including
       ineffective assistance of counsel, in or concerning Case No. 01-CR-80361.
       The parties acknowledge and agree that Defendant may continue to pursue
       his direct appeal in Case No. 01-CR-80361, which is currently pending before
       the Sixth Circuit Court of Appeals as Appeal No. 02-1757.

Hatcher, No. 02-80188 (#40), at 6-7, July 23, 2003 (emphasis added). Hatcher was

sentenced in Case No. 02-CR-80188 to 108 months imprisonment, to be served

concurrently with the 60-month concurrent terms imposed on the two bank robbery

convictions in the instant matter, Case No. 01-CR-80361. Hatcher, No. 02-80188 (#53,

#54), October 28, 2004.

          II. Validity of Waiver of Post-Conviction Rights in Case No. 02-80188

       Hatcher's initial ground for § 2255 relief necessarily challenges the validity of his

waiver of the right to seek such post-conviction relief under the express terms of the above

Rule 11 Plea Agreement he executed in Case No. 02-CR-80188. Hatcher alleges his

appellate counsel in 01-CR-80361, Attorney Margaret Raben, was acting under a conflict

of interest when she negotiated the plea agreement in Case No. 02-CR-80188 and

inadvertently advised Hatcher to waive any § 2255 claims he had against her in Case No.

01-CR-80361 for ineffective assistance of appellate counsel. Hatcher attests that during

plea negotiations in Case No. 02-CR-80188, sometime between April 1 and July 23, 2003,

Assistant United States Attorney ("AUSA") Daniel Hurley first advised Attorney Raben and

Hatcher that a plea offer had been made in Case No. 01-CR-80361 to Hatcher's trial

counsel Attorney Terry Price. Hatcher maintains the plea offer was never communicated

to him, an offer which allegedly involved the dismissal of the possession of a destructive

device charge and its potential 30-year sentence in exchange for Hatcher's guilty pleas to

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the remaining charges and a resulting maximum sentencing exposure of 12 years.2

Hatcher asserts on separate grounds that Attorney Raben provided ineffective assistance

of counsel in Case No. 01-CR-80361 by failing to investigate and raise the undisclosed plea

offer on direct appeal. Hatcher asserts he would have accepted the undisclosed plea offer

and not proceeded to trial in Case No. 01-CR-80361 on the possession of a destructive

device charge. Hatcher emphasizes that he "does not challenge the sentence or conviction

in Case No. 02-80188." Petitioner's November 2, 2005 Memorandum, at 6 (emphasis in

original).

                                         III. Analysis

       Hatcher challenges the enforceability of the Rule 11 Plea Agreement he executed

in Case No. 02-CR-80188. As pointed out by the Government, the proper vehicle for

challenging the validity of the Rule 11 Plea Agreement was for Hatcher to initially file a §

2255 petition in Case No. 02-CR-80188 followed by a separate § 2255 petition in Case No.

01-CR-80361 challenging his conviction and sentence. See Rules Governing Section 2255

Proceedings, Rule 2(d) (requiring a § 2255 petitioner to file a separate motion covering

each challenged judgment). The 2004 Advisory Committee Notes to Rule 2(d) caution that

dismissal for failure to file a § 2255 petition in the proper form poses a significant penalty

against a prisoner in light of the one-year statute of limitations, and that the better approach

is to accept a defective petition and require resubmission in proper form.

       Hatcher did not appeal his October 28, 2004 conviction and sentence in Case No.

02-CR-80188, and therefore the conviction and sentence became final for purposes of

seeking § 2255 relief ten days later, on November 11, 2004. See Brown v. United States,


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        Hatcher argues he was offered a sentencing recommendation of 60 months on the
bank robbery charge, a concurrent 60-month sentence on the felon in possession of a
firearm charge, and a consecutive 7-year sentence on the charge of brandishing a firearm
during the bank robbery.

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20 Fed.Appx. 373, 374-375, 2001 WL 1136000 (6th Cir. Sept. 21, 2001) (unpublished).

Had Hatcher properly filed the instant November 2, 2005 § 2255 petition under Case No.

02-CR-80188, the petition would have been timely. Id. Consistent with the intent of Rule

2(d) of the Rules Governing Section 2255 Proceedings, the court proceeds to address

Hatcher's grounds for setting aside his express waiver of rights to pursue post-conviction

relief in Case No. 01-CR-80361 (as well as Case No. 02-CR-80188) as if Hatcher had

properly filed the petition in Case No. 02-CR-80188.

       A guilty plea involving the waiver of constitutional rights is enforceable if the waiver

was voluntary and knowing to the extent the criminal defendant was sufficiently aware of

the relevant circumstances and likely consequences of his plea. Brady v. United States,

397 U.S. 742, 748 (1970). Thus, "a defendant's informed and voluntary waiver of the right

to collaterally attack a sentence in a plea agreement bars such relief." Skaggs v, United

States, No. 02-6511, 104 Fed.Appx. 462, 464 (6th Cir. June 15, 2004) (unpublished)

(quoting Watson v. United States, 165 F.3d 486, 489 (6th Cir. 1999)). Such waiver extends

to bar claims for collateral relief asserting ineffective assistance of counsel. Id. (quoting

Davila v. United States, 258 F.3d 448, 451 (6th Cir. 2001) for the proposition that "[w]hen

a defendant knowingly, intelligently, and voluntarily waives the right to collaterally attack his

or her sentence, he or she is precluded from bring[ing] a claim of ineffective assistance of

counsel based on 28 U.S.C. § 2255.")

       The express wording of Hatcher's Rule 11 Plea Agreement in Case No. 02-CR-

80188 informed Hatcher of the relevant circumstances and likely consequences of his plea

relative to his conviction and sentence in Case No. 01-CR-80361:

          . . . Defendant [Hatcher] promises not to file any post-conviction petition,
       including but not limited to any proceeding authorized by 28 U.S.C. § 2255,
       on any ground whatsoever, including ineffective assistance of counsel, in or
       concerning Case No. 01-CR-80361. The parties acknowledge and agree that
       Defendant may continue to pursue his direct appeal in Case No. 01-CR-

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       80361, which is currently pending before the Sixth Circuit Court of Appeals
       as Appeal No. 02-1757.

Hatcher, No. 02-80188 (#40), at 6-7, July 23, 2003. Prior to his October 28, 2004

sentencing in Case No. 02-CR-80188, Hatcher's knowledge of the consequences of his

Plea Agreement with respect to Case No. 01-CR-80361 was relied upon in securing

Hatcher concurrent sentences in Case No. 02-CR-80188:

            As part of his plea agreement in [Case No. 02-CR-80188], Defendant
       [Hatcher] gave up his right to claim the ineffective assistance of his trial
       attorney in Case #: 01-80361. The most serious claim of ineffective
       assistance which Defendant [Hatcher] has waived is the claim that the
       Government offered the Defendant's attorney the opportunity for Defendant
       to plead guilty in the Sterling Heights bank robbery case [Case No. 01-CR-
       80361] without pleading guilty to the destructive device count, and Defendant
       was never informed of this offer. Defendant and undersigned counsel first
       became aware of this information during a debriefing with Government
       agents and AUSA Daniel R. Hurley. During the debriefing, Mr. Hurley asked
       Defendant why he had not accepted the Government's offer. Defendant's
       reaction made it plain to Mr. Hurley and the agents that the Government's
       offer had never been communicated to Defendant by Defendant's attorney.
       Upon information and belief, the Government's offer in the instant case was
       motivated in part by its concern that Defendant would likely prevail on a claim
       of ineffective assistance of counsel in Case No. 01-8361.

Defendant Hatcher's Sentencing Memorandum, Hatcher, No. 02-CR-80188 (#53), at 5-6,

October 21, 2004. Hatcher's argument that he was coerced unknowingly into entering the

Rule 11 Plea Agreement in Case No. 02-CR-80188 is unsupported by the record,

particularly in light of the facts that: (1) Hatcher continued to pursue the benefit of his plea

bargain in Case No. 02-CR-80188 more than three months after the Sixth Circuit affirmed

his convictions in Case No. 01-CR-80361 on July 1, 2004; and (2) Hatcher continues to

accept the benefit of his plea bargain in the instant § 2255 petition, emphasizing to the

court that he "does not challenge the sentence or conviction in Case No. 02-80188."

Petitioner's November 2, 2005 Memorandum, at 6. Hatcher's assertion that he did not

know that he was waiving his right to assert ineffective assistance of counsel in a post-

conviction § 2255 petition with respect to the alleged undisclosed plea offer in Case No. 01-

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CR-80361 is belied by the express wording of the Rule 11 Plea Agreement and Sentencing

Memorandum.

       Hatcher's argument that Attorney Raben was laboring under a conflict of interest in

Case No. 02-CR-80188 when she inadvertently advised him to waive potential post-

conviction claims he had against her of ineffective assistance of appellate counsel in Case

No. 01-CR-80361 for failing to raise or investigate trial counsel's alleged non-disclosure of

a plea offer on direct appeal is equally without merit. In the context of his Rule 11 Plea

Agreement, Hatcher is required to show that an actual conflict of interest existed, and that

Attorney Raben knowingly made a choice between inconsistent alternatives that adversely

affected the voluntariness of his guilty plea. Thomas v. Foltz, 818 F.2d 476, 481 (6th Cir.

1987). A hypothetical or irrelevant conflict of interest does not support setting aside a guilty

plea as involuntary. Id. A conflict of interest is merely hypothetical if the attorney does not

in fact know of the conflict. United States v. Hopkins, 43 F.3d 1116, 1119 (6th Cir. 1995).

Hatcher himself pleads that Attorney Raben "did not foresee that I would have to bring a

claim against her in a post conviction proceeding" for failing to raise ineffective assistance

of trial counsel on appeal, and that "Attorney Raben inadvertently, but definitely, advised

Movant [Hatcher] to waive any claim he might have against Attorney Raben herself."

Petitioner's November 2, 2005 Motion, at 5; Petitioner's November 2, 2005 Memorandum,

at 6. The hypothetical conflict of interest raised by Hatcher does not support setting aside

his Rule 11 Plea Agreement. Thomas, 818 F.2d at 481.

       Still further, Attorney Raben's alleged conflict of interest in failing to raise ineffective

assistance of counsel on appeal is also hypothetical to the extent that, as a general rule,

the Sixth Circuit will not review ineffective assistance of counsel claims on direct appeal if

the record has not been sufficiently developed to allow appellate review of counsel's

alleged defective performance. United States v. Thomas, 74 F.3d 701, 715 (6th Cir. 1996).

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The record does not support a finding that Attorney Raben knew when she was negotiating

Hatcher's Rule 11 Plea Agreement in Case No. 02-CR-80188 that the Sixth Circuit would

elect to review on direct appeal an ineffective assistance of trial counsel claim in Case No.

01-CR-80361 on an insufficient factual record3. This hypothetical conflict likewise fails as

a matter of law. Hopkins, 43 F.3d at 1119; Thomas, 818 F.2d at 481.

       Contrary to Hatcher's restrictive reading of Federal Rule of Criminal Procedure 11,

Rule 11 does not preclude the waiver of rights in one case from acting as consideration for

a Rule 11 Plea Agreement in another case. Plea agreements are contractual in nature, and

subject to standards of contract law. United States v. Robison, 924 F.2d 612, 613 (6th Cir.

1991); United States v. Mandell, 905 F.2d 970, 973 (6th Cir. 1990). A United States

Attorney in one judicial district may be bound by plea agreements reached by a United

States Attorney in another judicial district. Robison, 924 F.2d at 613 (citing United States

v. Carter, 454 F.2d 426 (4th Cir. 1972) (en banc); United States v. Annabi, 771 F.2d 670

(2d Cir. 1985)). Here, AUSA Hurley was involved in prosecuting Hatcher in both Case No.

01-CR-80361 and Case No. 02-CR-80188 within the same federal Eastern District of

Michigan. There is nothing inherently coercive in the plea bargaining process wherein a

criminal defendant waives constitutional rights in exchange for his guilty plea. See

Robison, 924 F.2d at 613 (citing Staten v. Neal, 880 F.2d 962, 963 (7th Cir. 1989) for the

general rule that "fundamental fairness means that courts will enforce promises made

during the plea bargaining process that induce a criminal defendant to waive his

constitutional rights and plead guilty").

                                       IV. Conclusion



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         Hatcher admits that "[a]s regards counsel's failure to communicate a plea offer,
the record was not fully developed in relation to this claim[.]" Petitioner's November 2, 2005
Memorandum, at 13 (emphasis in original).

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       For the reasons set forth above, Hatcher's Rule 11 Plea Agreement in Case No. 02-

CR-80188 is enforceable, barring by its very wording Hatcher's instant claim for § 2255

relief in Case No 01-CR-80361. Brady, 397 U.S. at 748; Watson, 165 F.3d at 489; Davila,

258 F.3d at 451. Hatcher's petition for relief under § 2255 is hereby DENIED as barred,

and his petition is hereby DISMISSED. Before Hatcher may appeal this court’s decision,

a certificate of appealability must issue. 28 U.S.C. §2253(c)(1)(B); Fed. R. App. P. 22(b).

A certificate of appealability may issue "only if the applicant has made a substantial

showing of the denial of a constitutional right." 28 U.S.C. §2253(c)(2). Hatcher has made

no such showing. Accordingly, a certificate of appealability is hereby DENIED.

       SO ORDERED.


                                          s/George Caram Steeh
                                          GEORGE CARAM STEEH
                                          UNITED STATES DISTRICT JUDGE

Dated: June 28, 2006

                              CERTIFICATE OF SERVICE

Copies of this Order were served on the attorneys of record on June 28, 2006, by electronic
and/or ordinary mail.


                                          s/Josephine Chaffee
                                          Secretary/Deputy Clerk




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